Case 1:15-cv-24415-CMA Document 17 Entered on FLSD Docket 01/08/2016 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 15-24415-CIV-ALTONAGA

  FELIX ECHEVERRIA,

         Plaintiff,
  vs.

  THERMA SEAL INSULATION SYSTEMS,
  INC., et al.,

        Defendants.
  _______________________________________/

                                             ORDER

         THIS CAUSE came before the Court on Defendants’ Motion to Dismiss or, in the

  Alternative, to Transfer for Improper Venue (“Motion”) [ECF No. 16], filed January 8, 2016.

  The Motion seeks an order dismissing the case so Plaintiff may re-file it in the West Palm Beach

  Division, or alternatively, an order transferring the case to the West Palm Beach Division. (See

  Mot. 1). Plaintiff does not oppose the case being transferred to the West Palm Beach Division.

  (See id. 2). Accordingly, it is

         ORDERED AND ADJUDGED that the Motion [ECF No. 16] is GRANTED in part.

  The Clerk of Court is instructed to randomly reassign the case to the West Palm Beach Division.

         DONE AND ORDERED in Chambers at Miami, Florida, this 8th day of January, 2016.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
